Electronically FILED by Superior Court of California, County of Los Angeles on 10/02/2020 11:46 AM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Perez,Deputy Clerk
                      Case 2:21-cv-01306-RGK-E Document 1-2 Filed 02/12/21 Page 1 of 4 Page ID #:6
                                                     20STCV37942
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                           10                                     SUPERIOR COURT OF THE STATE OF CALIFORNIA

                           11                       IN AND FOR THE COUNTY OF LOS ANGELES - CENTRAL DIVISION

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                           13
                           14      CALEY RAE PAVILLARD, an                                                    CASE NO.:
                                   individual,
                           15
                                              Plaintiff,
                           16      vs.                                                                        COMPLAINT FOR PENAL TIES FOR THE
                                                                                                              LATE PAYMENT OF WAGES (Labor Code
                           17      IGNITE INTERNATIONAL, LTD., a                                              § 203); DEMAND FOR JURY TRIAL
                                   Wyoming limited company; and DOES
                           18      1-25, inclusive.

                           19
                                              Defendants.
                           20

                           21                                                                         PARTIES

                           22      1.         Plaintiff, CALEY RAE PAVILLARD, ("Plaintiff') is an individual residing in the County

                           23      of Douglas, Colorado.

                           24      2.         Defendant, IGNITE INTERNATIONAL, LTD., ("Defendant") is, and at all times relevant

                           25      herein was, a Wyoming limited company, maintaining its principal place of business in the County

                           26      of Los Angeles, California.

                           27      3.         Plaintiff is ignorant of the true names and capacities of the Defendants sued herein as

                           28      DOES 1 through 25 inclusive, and therefore sues these Defendants by such fictitious names.

                                                          COMPLAINT FOR PENALTIES FOR THE LATE PAYMENT OF WAGES
                                                                                         EXHIBIT A-2          1
Case 2:21-cv-01306-RGK-E Document 1-2 Filed 02/12/21 Page 2 of 4 Page ID #:7


   I   Plaintiff will amend this complaint to allege their true names and capacities when ascertained.

   2   Plaintiff is informed and believes, and on that basis alleges that each of these fictitiously named

   3   Defendants are responsible in some manner for the acts and/or omissions herein alleged, and that

   4   as such, said fictitiously named Defendants are subject to, and liable for, the penalties sought in

   5   this action.

   6   4.        Plaintiff is informed and believes, and thereon alleges at all times mentioned herein, the

   7   Defendants, and each of them, both those specifically named and fictitiously named, were the

   8   agents, servants, and/or employees of their co-defendants and in doing the things hereinafter

   9   mentioned, were acting within the course and scope of their authority as such agents, servants,

  10   employees with the permission of their co-defendants.

  11                                               FIRST COUNT

  12                  (For Late-Wage-Payment Penalties for October, 2018, Employment -

  13                                           Against All Defendants)

  14   5.        Plaintiff re-alleges and incorporates herein Paragraphs 1-4 hereof as though fully set forth

  15   herein.

  16   6.        In October of 2018, in the County of Los Angeles, California, Defendant employed

  17   Plaintiff as a model for a photography shoot. That employment began on October 5, 2018, and

  18   concluded on October 5, 2018. In the course of that employment, Plaintiff performed her modeling

  19   services pursuant to, and under the direction and complete control of Defendant and its personnel

  20   and agents.

  21   7.        Plaintiffs employment with Defendant was pursuant to an employment agreement pursuant

  22   to which the employment was to last for one day, and for which Defendant agreed to pay Plaintiff

  23   a rate of$3,000.00, per day.

  24   8.        Pursuant to Labor Code section 201(a), Plaintiff was entitled to be paid her wages by

  25   Defendant upon discharge from her employment. That discharge occurred upon her completion of

  26   the photo shoot on October 5, 2018.

  27   Ill

  28   III

                        COMPLAINT FOR PENALTIES FOR THE LATE PAYMENT OF WAGES
                                             EXHIBIT A-2   2
Case 2:21-cv-01306-RGK-E Document 1-2 Filed 02/12/21 Page 3 of 4 Page ID #:8


   1   9.      Despite having discharged Plaintiff from her employment, Defendant failed to timely pay

   2   Plaintiff her wages upon discharge. Payment of those wages was not made for more than thirty

   3   days after the date upon which Plaintiff was discharged.

   4   10.     Defendant's failure to timely pay Plaintiff her wages was willful in that Defendant was

   5   required to make timely payment, was able to do so, but chose not to do so, thus entitling Plaintiff

   6   to receive the payment of a penalty under Labor Code section 203 . Labor Code section 203

   7   provides that upon an employer's failure to make timely payment of wages, the employee's wages

   8   shall continue as a penalty until paid or for a period of up to 30 days from the time the wages came

   9   due, whichever period is shorter.

  10   11.     Pursuant to the provisions of Labor Code section 203, Plaintiff is entitled to an award of

  11   penalties in the total amount of $90,000.00, which is Plaintiff's daily rate multiplied by thirty days.

  12   12.     Pursuant to Labor Code Section 218.5, Plaintiff is additionally entitled to an award of her

  13   reasonable attorney's fees and costs incurred in this action.

  14                                                    PRAYER
  15           WHEREFORE, Plaintiff prays Judgment against Defendants, and each of them, as
  16   follows :

  17   1.      For penalty wages in the amount of $90,000.00 pursuant to Labor Code Section 203;

  18   2.      For reasonable attorney's fees pursuant to Labor Code Section 218.5;

  19   3.      For costs of suit incurred herein; and

  20   4.      For such other and further relief as the court may deem appropriate.

  21   Dated: October 1, 2020

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  24                                                              for Plaintiff, CALEY RAE PAVILLARD

  25   II I

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                      COMPLAINT FOR PENALTIES FOR THE LATE PAYMENT OF WAGES
                                            EXHIBIT A-2
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Case 2:21-cv-01306-RGK-E Document 1-2 Filed 02/12/21 Page 4 of 4 Page ID #:9


   1                                 DEMAND FOR JURY TRIAL
   2   Plaintiff, CALEY RAE PAVILLARD, hereby demands a jury trial in the above-entitled action

   3   Dated: October I, 2020                     EXCELSIOR LA

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   6                                                  Attomeys for Plaint          CALEY RAE PAVILLARD

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                     COMPLAINT FOR PENALTIES FOR THE LATE PAYMENT OF WAGES
                                        EXHIBIT A-2     4
